                                                                                Reset Form
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE




Scottsdale Capital Advisors Corp. and John Hurry
__________________________________
Plaintiff(s)/United States

              v.                                            16-cv-545-JL
                                                   Case No. ______________________________

The Deal, LL and William Meagher
__________________________________
Defendant(s)


                           NOTICE OF CHANGE OF ADDRESS

                                  Plaintiffs' Counsel
          Please take notice that _________________________________________________
has changed the following information contained in the original ECF Registration Form:
Jordan Susman, Esq., Harder, LLP, 132 S. Rodeo Dr., Beverly Hills, CA 90212, (424)
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      2/18/2018
Date:___________________                  /s/ Christopher D. Hawkins
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          Case 1:16-cv-00545-JL Document 38 Filed 02/08/18 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing notice was served on the following persons on this
date and in the manner specified herein:

Electronically Served Through ECF:
Elizabeth McNamara, Esq.
Jack Browning, Esq.
Steven M. Gordon, Esq.


Conventionally Served:
[Name and Address of Non-Filing Users]




     2/18/2018
Date:___________________                    /s/ Christopher D. Hawkins
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